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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                  DETROIT DIVISION

BRINK’S CAPITAL LLC,
a foreign limited liability company,

       Plaintiff,                                                  Case No. 24 - _______ - __

-v-                                                                Hon. __________________

JOE RANDAZZO’S FRUIT AND
VEGETABLE, INC.,
a Michigan Corporation,

       Defendant.


                                    VERIFIED COMPLAINT

                                        INTRODUCTION

       This is a breach of contract case where the parties entered into a contract with a five (5)

year term and then Defendant Joe Randazzo’s Fruit and Vegetable, Inc. (“Randazzo’s”) breached

the contract by terminating it after only a few months. Randazzo’s is liable to Plaintiff Brink’s

Capital, LLC (“Brink’s”) for liquidated damages, which are set by contract.

       Randazzo’s attempted to create a basis for terminating the contract by making a complaint

about Brink’s equipment and then blocking Brink’s from the location to repair the equipment.

Brink’s made numerous requests to service the location in the weeks that followed the complaint

but was not allowed access each time by Randazzo’s. Randazzo’s attorney then sent a letter to

Brink’s after thirty (30) days had passed since the equipment complaint stating that Randazzo’s

was terminating the contract for cause because Brink’s did not repair the equipment issue within

thirty (30) days as required by the contract.

       Randazzo’s cannot manufacture a basis to terminate the contract by sabotaging Brink’s

efforts to comply with the contract. This Court should not tolerate Randazzo’s shenanigans. The
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contract is governed by Delaware law, and Randazzo’s conduct is a breach of contract as well as

a breach of Delaware’s implied covenant of good faith and fair dealing.

                                            PARTIES

        1.     Brink’s Capital, LLC is a Delaware limited liability company with its principal

place of business at 1801 Bayberry Court, Ste. 400, Richmond, Virginia 23226. Brink’s Capital

LLC’s sole member is Brink’s Capital Holding Company LLC, a Delaware Limited Liability

Company. Brink’s Capital Holding Company LLC’s sole member is Brink’s Finance Holding

Company LLC, a Delaware Limited Liability Company. Brink’s Finance Holding Company

LLC’s sole member is Brink’s Holding Company, a Delaware Corporation that maintains its

principal place of business in Delaware.

        2.     Defendant Joe Randazzo’s Fruit and Vegetable, Inc. is a Michigan corporation with

its principal place of business in the State of Michigan.

                                 JURISDICTION AND VENUE

        3.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a), as there

is diversity of citizenship between the parties because (i) Brink’s is a citizen of Delaware and

Virginia, and (ii) Randazzo’s is a citizen of Michigan. The amount in controversy exceeds

$75,000, exclusive of interest and costs.

        4.     Randazzo’s has business locations within this District and Division, including in

Wayne County, Michigan. These are some of the locations where Brink’s was providing services

pursuant to the contract at issue at the time that Randazzo’s breached the contract.

        5.     Venue is proper in the Eastern District of Michigan, Detroit Division, because a

substantial part of the events and/or omissions giving rise to this lawsuit occurred in this judicial

district.
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                                  GENERAL ALLEGATIONS

A.      Brink’s

        6.     One of the oldest commercial brands in the world, the Brink’s name has been

synonymous with security and trust since its founding. Brink’s provides and services security

related equipment to locations throughout the U.S., including Michigan.

B.      Defendant

        7.     Defendant Randazzo’s has grocery stores and nurseries at various locations in the

suburban areas of Detroit, Michigan. Randazzo’s sells and advertises to the residents in multiple

counties, including Wayne County.

C.      Brink’s and Randazzo’s Enter into a Contract for Certain Services

        8.     On or about October 5, 2022, Brink’s and Randazzo’s entered into a Brink’s

Complete Service Agreement (the “Contract”). The Contract is attached hereto and incorporated

herein as Exhibit A.

        9.     The Contract has a five (5) year term and required that Brink’s provide equipment

and services to five (5) Randazzo’s locations during that time. Exhibit A, § 2 and Appx. C.

        10.    Among other things, the Brink’s Complete service allows customers to deposit

currency and/or coins into a Brink’s safe. Customers then receive automated clearing house credits

that equal the amount deposited by the customer in near-real time into their bank accounts.

Effectively, the service allows customers to convert their cash receipts into ACH credits without

waiting for their currency or coin to be picked up and deposited with their financial institutions.

To facilitate these transactions, Brink’s 24SEVEN online service allows customers to declare the

value of amounts deposited into the device via a deposit bag, to monitor their accounts, to order

change, and to view detailed reports regarding the financial activity at their locations, among other

activities.
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       11.     In order to provide these services, Brink’s must install at least one expensive,

proprietary safe at each service location. Brink’s leases most of this equipment, which remains

Brink’s property until the end of the service agreement.

       12.     Brink’s incurs other, additional up-front labor and costs when setting up services

beyond leasing or procuring and installing its safes. For example, Brink’s must complete extensive

“Know Your Customer” procedures before it can begin providing services in order to comply with

anti-money laundering regulations. Other examples of up-font labor and costs associate with

implementation including setting up ServiceNow orders, installation schedules, customer training,

and setting up 24SEVEN services for the customer.

       13.     At the time of contract formation, it can be difficult to predict how much labor and

cost Brink’s will expend when setting up services for a customer. For example, some customers

require additional Know Your Customer screening that imposes additional onboarding costs.

D.     Brink’s Installs Equipment and Provides Services to Randazzo’s

       14.     In or around October and November 2022, Brink’s installed safes at five (5)

Randazzo’s locations. Each safe had been leased by Brink’s and was equipped with specialized

equipment installed on it to allow Brink’s to provide Randazzo’s with the services detailed herein.

       15.     For approximately two and a half months, Brink’s provided its contracted for

services, and Randazzo’s paid Brink’s according to the Contract.

       16.     Randazzo’s payments to Brink’s were automatically deducted from Randazzo’s

account.

E.     Brink’s Remedies All but One of the Equipment Complaints Raised by Randazzo’s
       after Randazzo’s Suddenly Attempted to Terminate the Contract

       17.     On or about January 5, 2023, Randazzo’s sent Brink’s a letter wherein Randazzo’s

stated that it “would like to exercise [its] right of termination of contract under Section 8 (a) page
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4” (“Initial Written Notice”). The letter claimed that equipment issues existed at four (4) locations

and that the equipment at one (1) location could not be tested because the location was a seasonal

location. The letter appeared to be drafted by an attorney and claimed that Randazzo’s “need[s]

to terminate the contract with no penalties, no remaining fees, no liquidated damages, and no

shipping costs or cost associated with removal and shipping back of equipment.”

       18.     Randazzo’s is unable to unilaterally terminate the Contract without first giving

Brink’s an opportunity to cure any purported equipment or other issues within thirty (30) days of

written notice. Specifically, the Section 8.1(a) of Appendix A of the Contract provides as follows:




In fact, Randazzo’s is unable to terminate the entire Contract in a scenario where Brink’s does not

correct an equipment issue at a location within thirty (30) days because each of Randazzo’s

locations was subject to a separate “Equipment Term” under the Contract. Contract, § 2. The

Contract further provides:




Exhibit A, Appendix A, Section 8.1(c). Therefore, at most, Randazzo’s is only able to terminate

a specific Equipment Term (not the entire Contract) in the event of a material breach by Brink’s,
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provided that the breach continues for a period of thirty (30) days after Brink’s receipt of written

notice of the purported breach.

       19.     The Contract contains provisions that set the amount of damages owed should

Randazzo’s terminate the contract early. Specifically, the Contract provides that, “If [Randazzo’s]

terminates an Equipment Term within the first thirty (30) months of the applicable Equipment

Term, other than for material breach by Brink’s, Customer agrees to pay Brink’s, as liquidated

damages and not as a penalty, the remaining balance of Fees to be paid by Customer during the

remaining portion of the applicable Equipment Term.” Exhibit A, Appx. A, Section 8.1(b). The

Contract contains a lower calculation for liquidated damages if the Contract is terminated after the

first (30) months (which is not applicable here). Id.

       20.     The liquidated damages clause is valid. The damages which the parties might

reasonably anticipate are difficult to ascertain at the time of contracting because of their

indefiniteness and uncertainty. If Brink’s must remove its expensive safes and other equipment

from a location, it is uncertain whether the equipment will still be usable after removal. In some

instances, equipment may require some form of maintenance or repair before it can be redeployed.

Assuming a safe can be redeployed, Brink’s cannot predict how long it will be required to keep a

safe in inventory before that equipment can be reinstalled at a new, paying customer’s service

location. While that safe remains in inventory for an indefinite period, Brink’s continues to incur

leasing costs as well as storage costs that it would not have incurred by for the customer’s breach

of contract. Brink’s incurs significant costs and labor upfront on an agreement of this nature via

the installation process, onboarding, and other administrative costs. Much of these costs are not

typically recouped until well into the Contract term. In light of this uncertainty and the front-

loaded nature of many of Brink’s expenses, the liquidated damages amount in the Contract is a
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reasonable estimate of the damages which would probably be caused by a breach and/or is

reasonably proportionate to the damages which have actually been caused by the breach.

       21.     Brink’s treated the Initial Written Notice as a written notice of material breach

pursuant to Section 8.1(a) of Appendix A of the Contract (given that such a notice is required to

allow Brink’s an opportunity to cure before a termination of an Equipment Term can occur).

       22.     Upon receipt of the Initial Written Notice, Brink’s began remedying the issues

mentioned by Randazzo’s in the letter.

       23.     On or about Friday, January 13, 2023, Brink’s representatives had a call with Cindy

Kole, Controller of Randazzo’s regarding Brink’s action plan to move forward with curing all

issues referenced in the Initial Written Notice.

       24.     On Tuesday, January 17, 2023, Brink’s representatives emailed Cindy Kole with

Randazzo’s to update her regarding certain issues at locations having already been addressed and

notifying her that a part needed to be replaced to remedy the equipment issue at the “Outer Drive”

location. Brink’s pointed out to Ms. Kole that, “Please note that all of this action plan is hinged

on the [sic] you all allowing our techs onsite to perform work needed to repair the device.”

F.     Randazzo’s, Appearing to Have Counsel Involved, Blocked Brink’s From Remedying
       the Concerns Raised by Randazzo’s at One Location

       25.     On Wednesday, January 18, 2023, Ms. Kole initially informed Brink’s that it was

allowed to go to the Outer Drive location to repair the alleged equipment issue at that location.

Ms. Kole then followed up by email less than two hours later on the same day and stated, “I just

spoke to one of the owners [of Randazzo’s], and they asked that you hold off sending a tech out to

the Outer Drive store. I will get back to you after our Legal team reviews.”

       26.     On Thursday, January 26, 2023, Brink’s personnel again followed up with Ms. Kole

to see if Brink’s could get access to the Outer Drive location to remedy the alleged equipment
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issue. Ms. Kole did not respond for several days. On the afternoon of Monday, January 30, 2023,

Ms. Kole advised that she should have an answer for Brink’s the following day.

          27.   Ms. Kole did not follow up with Brink’s on Tuesday, January 31, 2023. Therefore,

Brink’s followed up with Ms. Kole again at the end of the day inquiring regarding the status of

whether Brink’s can move forward. Ms. Kole did not respond that day.

          28.    On Wednesday, February 1, 2023, Ms. Kole once again stated that she hoped to

have an answer “tomorrow.” Ms. Kole again did not follow up with Brink’s the next day.

          29.   On Friday, February 3, 2023, Brink’s reminded Ms. Kole via email of Brink’s

efforts to cure the remaining issue at the Outer Drive location based on Section 8.1(a) of the

Contract and informed her the Brink’s “wanted to proactively follow up again in good faith” and

that Brink’s was continuing to wait on Randazzo’s to get permission to cure the final issue.

G.        Randazzo’s Counsel Then Claims that Randazzo’s is Terminating Because Brink’s
          Did not Remedy Issues at the Location where Randazzo’s Blocked Brink’s from
          Remedying the Alleged Issue

          30.   On or about February 8, 2023, Anthony Urbani, an attorney for Randazzo’s, sent a

letter to Brink’s stating that Randazzo’s now had hired another company and that Randazzo’s was

terminating the Contract because Brink’s failed to repair equipment that is the subject of the

Contract.

          31.   Brink’s had communications with counsel for Randazzo’s to attempt to resolve the

matter.

          32.   As outlined supra, Brink’s corrected all issues that were raised in Randazzo’s First

Written Notice, except for the single issue at the Outer Drive location due to Randazzo’s not

allowing Brink’s access to the location to remedy the final issue.

          33.   Randazzo’s course of conduct of blocking Brink’s from addressing the final issue

in the Initial Written Notice appears to have been a strategy hatched out by Randazzo’s legal
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counsel given that Randazzo’s advised Brink’s in January 2023 that Randazzo’s was instructed to

not let Brink’s access the final location to remedy that last issue and that Randazzo’s was waiting

on further direction from Randazzo’s “Legal team.”

       34.     Regardless, Randazzo’s is liable to Brink’s for liquidated damages for beaching the

Contract when Randazzo’s terminated the Contract when it still had approximately 57 months left

of the five (5) year agreement.

       35.     Randazzo’s terminated all Equipment Terms under the Contract.             The total

liquidated damages for Randazzo’s early and improper termination is $261,445.65.

       36.     On April 10, 2023, Brink’s sent an invoice to Randazzo’s for the $261,445.65,

which remains unpaid.

       37.     On or about August 10, 2023, Randazzo’s counsel sent another letter stating that

Randazzo’s had terminated the contract because Brink’s failed to repair equipment that is the

subject of the Contract.

       38.     On December 21, 2023, Brink’s outside counsel sent a letter to counsel for

Randazzo’s outlining how Randazzo’s breached the Contract and requesting that Randazzo’s pay

the liquidated damages in compliance with the Contract.

       39.     Randazzo’s refused to pay the liquidated damages required by the Contract.

                                              VI.
                                        Causes of Action

                                       Breach of Contract

       40.     All previous paragraphs are incorporated herein as if fully set forth.

       41.     Brink’s and Randazzo’s entered into the Contract.

       42.     Brink’s provided Randazzo’s with equipment and services pursuant to the Contract.
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       43.     When Randazzo’s sent Brink’s a written notice regarding purported material

breaches of the Contract, Brink’s timely remedied the issues complained of at all locations expect

for a single Randazzo’s location where Randazzo’s would not allow Brink’s access to cure the

alleged equipment issue at that location.

       44.     Randazzo’s then terminated the entire Contract in breach of the express provisions

of the Contract.

       45.     Randazzo’s owes Brink’s $261,445.65 in liquidated damages pursuant to the

express provisions of the Contract.

       46.     Plaintiff has made a demand on Randazzo’s for payment of the outstanding balance,

but Randazzo’s has failed and refused, and still refuses, to pay the amount due.

                                        COUNT TWO:
                   Breach of Implied Covenant of Good Faith and Fair Dealing

       47.     All previous paragraphs are incorporated herein as if fully set forth.

       48.     The Contract is governed by Delaware law.

       49.     Randazzo’s breached the implied covenant of good faith and fair dealing relating

to the Contract with Brink’s.

       50.     Under Delaware law, every contract includes an implied covenant of good faith and

fair dealing. E.g., Oxbow Carbon & Minerals Holdings, Inc. v. Crestview-Oxbow Acquisition,

LLC, 202 A.3d 482 (Del. 2019); Dieckman v. Regency GP LP, 155 A.3d 358 (Del. 2017); Dunlap

v. State Farm Fire & Casualty Co., 878 A.2d 434 (Del. 2005). By incorporating provisions of a

Delaware-governed contract, the parties to the Contract incorporated this aspect of Delaware law

in construing these provisions. This implied covenant reinforces the conclusions above.

       51.     The Delaware Supreme Court recently summarized how this implied covenant most

often works:
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          [W]ithout limiting other possible applications, the implied covenant of good faith and fair
          dealing often comes into play in two situations. [One] is when it is argued that a situation
          has arisen that was unforeseen by the parties and where the agreement’s express terms do
          not cover what should happen. The other situation . . . is when a party to the contract is
          given discretion to act as to a certain subject and it is argued that the discretion has been
          used in a way that is impliedly proscribed by the contract’s express terms. The implied
          covenant is inherent in all contracts and is used to infer contract terms to handle
          developments or contractual gaps that the asserting party pleads neither party anticipated.
          It applies when the party asserting the implied covenant proves that the other party has
          acted arbitrarily or unreasonably, thereby frustrating the fruits of the bargain that the
          asserting party reasonably expected. The reasonable expectations of the contracting parties
          are assessed at the time of contracting.

Oxbow Carbon & Minerals Holdings, 202 A.3d at 504 n.93 (internal quotation marks and citations

omitted).

          52.    Effecting the “reasonable expectations of the contracting parties . . . at the time of

contracting” requires that Randazzo’s not be able to create a basis to terminate all or part of the

Contract as Randazzo’s has attempted to do in this case. Blocking Brink’s from repairing the

equipment at the Outer Drive location is impliedly proscribed by the contract’s express terms,

especially when Randazzo’s did so and then had its attorney send a letter stating that the Contract

was breached by Brink’s for not repairing the equipment that Randazzo’s would not let Brink’s

repair.

          53.    Randazzo’s conduct was in bad faith and for the improper purpose of creating a

basis (as it thought) to terminate the Contract.

          54.    Randazzo’s breach of the implied covenant of good faith and fair dealing

proximately caused damages to Brink’s.

                                                VII.
                                        Conditions Precedent

          55.    All conditions precedent to Brink’s claims against Randazzo’s have occurred, been

performed, satisfied, or otherwise fulfilled.
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                                              VIII.
                                Attorney’s Fees, Costs and Interest

        56.      Pursuant to Section 2(c) of Appendix A to the Contract, Randazzo’s is required to

pay Brink’s “collection expenses, including, without limitation, reasonable attorney’s fees” plus

interest.

                                              Prayer

        WHEREFORE, Brink’s Capital, LLC respectfully requests that the Court enter judgment

against Joe Randazzo’s Fruit and Vegetable, Inc. as follows:

              a) Judgment for Brink’s and against Randazzo’s for liquidated damages pursuant to
                 the Contract;
              b) Judgment for Brink’s and against Randazzo’s for Brink’s attorney’s fees and court
                 costs;
              c) Judgment for Brink’s and against Spring Hospital for prejudgment and post-
                 judgment interest; and
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        d) Award Brink’s all further and other relief at law and in equity to which it is entitled.

                                       Respectfully Submitted,

                                       JAY B. SCHREIER, P.C.

                                              /s/ Jay B. Schreier
                                       _______________________________
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